          Case 1:18-md-02865-LAK         Document 847      Filed 06/29/22     Page 1 of 1




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


  In re

  CUSTOMS AND TAX ADMINISTRATION                  MASTER DOCKET
  OF THE KINGDOM OF DENMARK
  (SKATTERFORVALTNINGEN) TAX                      18-md-2865 (LAK)
  REFUND SCHEME LITIGATION

  This document relates to: All cases.            NOTICE OF ERRATA



          TO THE COURT AND ALL PARTIES TO THIS ACTION:

          Defendants and Third-Party Defendant hereby provide notice of errata and correction as

follows. An incorrect version of Exhibit 41 to the Declaration of Kasper Bech Pilgaard (ECF No. 801-

41) was filed on May 12, 2022. Attached hereto is the correct version of Exhibit 41.




Date: June 29, 2022                                Respectfully submitted,

                                                    /s/ Alan Schoenfeld
                                                   Alan Schoenfeld
